Case 2:21-cv-20706-MEF-ESK Document 34-3 Filed 02/08/23 Page 1 of 2 PageID: 253




 Daniel S. Szalkiewicz, Esq. (DS2323)
 DANIEL SZALKIEWICZ & ASSOCIATES, P.C.
 23 WEST 73RD STREET
 SUITE 102
 NEW YORK, NEW YORK 10023
 Attorneys for the Plaintiff John Doe

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  John Doe,
                                                               Case No. 2:21-cv-20706-SDW-ESK
                  Plaintiff,
                                                               [PROPOSED] ORDER
          v.

  Baila Sebrow

                Defendant.
        This matter having come before the Court on the motion of Plaintiff John Doe, by his

 counsel, Daniel Szalkiewicz & Associates, P.C., for Leave to Proceed under Pseudonym and to

 restrict access to Docket No. 13; and the Court having considered the submissions of the parties

 and the arguments of counsel, and for good cause shown,

        IT IS on this _____ day of _____________, 2023,

        ORDERED that Plaintiff John Doe’s Motion for Leave to Proceed under Pseudonym is

 GRANTED; and it is further

        ORDERED that any reference to Plaintiff within the docket will be made accordingly to

 John Doe; and it is further

        ORDERED that any documents containing references to John Doe’s actual name are to

 be redacted accordingly, with unredacted versions filed under seal if necessary pursuant to Local

 Civil Rue 5.3.

        ORDERED that Docket No. 13, containing Plaintiff’s real name, is sealed and the clerk
Case 2:21-cv-20706-MEF-ESK Document 34-3 Filed 02/08/23 Page 2 of 2 PageID: 254




 shall restrict access to the docket.

                                              ______________________________
                                              Edward S. Kiel
                                              United States Magistrate Judge
